      Case 1:05-cr-01849-JCH           Document 1076          Filed 10/04/07        Page 1 of 8



                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,


v.
                                                       No:     05-CR- 1849 (JH)


DANA JARVIS,

                       Defendant.


      DEFENDANT DANA JARVIS’ MOTION TO DISMISS FOR IRREPARABLE
      STRUCTURAL ERROR & ADDITIONAL FIFTH & SIXTH AMENDMENT
                             VIOLATIONS

       Defendant, Dana Jarvis, through counsel of record Joe M. Romero, Jr. and Jody Neal-Post,

hereby requests this case be dismissed with prejudice due to irreparable structural error caused by

the erroneous denial of Defendant Jarvis’ Motion to Release Funds for retained counsel. There have

been now two Sixth Amendment violations of rights to counsel based upon the actions of the

Government. See United States v. Gonzalez-Lopez, 126 S. Ct. 2557, 2562 (2006); United States v. Jarvis,

2007 U.S. App. LEXIS 20687 (Doc. 1065 herein); Doc. 654 (finding violations of Sixth Amendment
rights to prepare a defense with the effective assistance of counsel). These cumulative constitutional

violations have irreparably destroyed the fairness of these criminal proceedings, causing in turn a

Fifth Amendment due process violation. See Douglas v. California, 372 U.S. 353, 358 n.2 (1963),

quoting Coppedge v. United States, 369 U.S. 438, 449 (1962)). The only remedy in these unique

circumstances is dismissal with prejudice, in part due to the actual conflict of interests now

preventing Mr. Jarvis’ counsel of choice from ever representing him in this case.

        The United States has reviewed this Motion and opposes it.
       Case 1:05-cr-01849-JCH           Document 1076         Filed 10/04/07       Page 2 of 8




                                      Argument & Authorities

                       The Sixth Amendment Choice of Counsel Violation

        “A choice-of-counsel violation occurs whenever the defendant’s choice is wrongfully denied.”

Gonzalez-Lopez, 126 S. Ct. at 2565 (emphasis in orig.). In United States v. Gonzales-Lopez, the United

States Supreme Court was unequivocal that wrongful deprivation of retained counsel of choice is

structural error in a criminal proceeding:

                erroneous deprivation of the right to counsel of choice, with
                consequences that are necessarily unquantifiable and
                indeterminate, unquestionably qualifies as ‘structural error.’
                Different attorneys will pursue different strategies with regard to
                investigation and discovery, development of the theory of defense,
                selection of the jury, presentation of the witnesses, and style of
                witness examination and jury argument. And the choice of attorney
                will affect whether and on what terms the defendant cooperates with
                the prosecution, plea bargains, or decides instead to go to trial. In
                light of these myriad aspects of representation, the erroneous denial
                of counsel bears directly on the ‘framework within which the trial
                proceeds,’ --or indeed on whether it proceeds at all. It is impossible
                to know what different choices the rejected counsel would have
                made, and then to quantify the impact of those different choices on
                the outcome of the proceedings.

Gonzalez-Lopez, 126 S. Ct. at 2565 (emphasis added)(internal citations omitted). In Gonzalez-Lopez,

the Supreme Court held that a conviction obtained in the face of an erroneous deprivation of choice

of retained counsel required reversal and, presumably, remand for a new trial. Id. at 2570

(characterization found in J. Alito’s dissent to the majority holding). This remedy is not available

here to correct this Sixth Amendment violation.

        On August 28, 2007, the Tenth Circuit entered its published decision in United States v. Jarvis,

holding “the order of the district court denying Jarvis’ motion to release funds is, therefore,

reversed and this case is remanded to the district court with instructions to order the lis pendens

notices removed.” United States v. Jarvis, 2007 U.S. App. LEXIS 20687 (emphasis in original). As this

                                                   2
       Case 1:05-cr-01849-JCH          Document 1076          Filed 10/04/07      Page 3 of 8



Court is aware, the Motion to Release Funds was for the purpose of releasing the Mora properties

from the United States’ lis pendens, such that Mr. Jarvis could use the properties to hire counsels

Robert Gorence and Paul Kennedy to represent him in these proceedings. Doc. Nos. 293, pp. 2-3;

Doc. 314, ¶ 6 (Motion to Release Funds, filed by Robert Gorence; “Defendant Jarvis desires to

retain Robert J. Gorence and Paul Kennedy for his defense but counsel will need adequate

funds….”; Transcript of Proceedings January 19, 2006, 5:1-11, 6:9-15, 7:1-20 (Mr. Gorence speaking,

“Mr. Jarvis needs the services of both of us to represent him on this continuing criminal enterprise

indictment….”, and “We’re of the belief that Mr. Jarvis has the financial wherewithal to hire us if the

Court were to grant the motion to release assets that have been seized.”); id. at 8:10-14, Ms.

Rosenstein speaking, “Mr. Jarvis wants the Court to know that he is the defendant and he would

very much like to be able to retain Mr. Gorence and Mr. Kennedy in this matter with his own

personal funds….”(Transcript attached).

        Mr. Gorence and AUSA Braun discussed the specific matter of retained counsel of choice

before this Court in the same January 19, 2006 hearing:

                AUSA Braun: So I don’t think the Court needs to grant the limited
                entry of appearance, it can simply appoint an attorney on the CJA
                panel who is competent to handle this type of case.

                Mr. Gorence: Your Honor, to answer that, and I think obviously the
                Sixth Amendment contemplates counsel of choice if an individual
                has the wherewithal to hire counsel….

                I think preliminarily with regard [to the properties listed in the
                indictment], you can see from the indictment, the Mora County
                property that the government has filed lis pendens on under a theory
                that if they are successful in obtaining the money judgment, those are
                substitute assets preliminarily, without even showing that they are
                traceable, those ought to be released and this Court ought to order
                the lis pendens removed so Mr. Jarvis can retain counsel of his choice.

Id. 6:13-15; 7:13-20.

                                                  3
       Case 1:05-cr-01849-JCH           Document 1076          Filed 10/04/07       Page 4 of 8



        “A choice-of-counsel violation occurs whenever the defendant’s choice is wrongfully denied.”

The wrongful denial of Mr. Jarvis’ Motion on January 19, 2006 was a choice of counsel violation, as

the stated purpose of the Motion as reflected in the record was Mr. Jarvis’ request for release of

funds to hire counsel of choice, Mr. Gorence and Mr. Kennedy, as his defense team.

        Structural error attached in this case on the date of denial of the constitutional right, January

19, 2006. Mr. Jarvis made request to this Court for the counsel he was deprived of, Mr. Gorence

and Mr. Kennedy. This defense team is now unavailable. The remedy of Gonzalez-Lopez, starting

over with the Defendant’s counsel of choice, is now impossible.

        This Court may take judicial notice of the fact that Mr. Gorence has an actual conflict in

this case preventing him from now representing Mr. Jarvis, that being Mr. Gorence’s present

representation of co-defendant Dennis Wilson. See Doc. 454 (May 5, 2006), Entry of Appearance of

Robert Gorence for Dennis Wilson; Rael v. Blair, 2007-NMSC-6, ¶ 21 (it is a per se conflict of interests

when counsel has an on-going professional relationship with another client (Wilson) which is

relevant to the Defendant’s (Jarvis’) trial); United States v. Kaufman, 354 F. Supp. 2d 1201, 1205-06 (D.

Kan. 2005)(government’s allegations of “differing levels of culpability” between the co-defendants at

issue reflected in superseding indictment supports finding of actual conflict). The Court can also

take judicial notice of Mr. Gorence having been present before this Court on January 19, 2006

representing Mr. Jarvis. On that day Mr. Gorence and Mr. Kennedy were denied in their request to

have their motion to release funds granted to hire them. TP 7:5-7. Today, an actual conflict of

interests now prevents Mr. Gorence from representing Mr. Jarvis regardless of what anyone wants.

But for the wrongful deprivation of Mr. Jarvis’ Motion to Release Funds on January 19, 2006, Mr.

Jarvis’ Sixth Amendment right to choice of counsel would not have been violated.

        Mr. Jarvis’ right is now irremediable, due to the actual and per se conflicts of interest that

have arisen since the denial of Mr. Jarvis’ request. If the case proceeds forward now, any conviction
                                                   4
       Case 1:05-cr-01849-JCH             Document 1076         Filed 10/04/07      Page 5 of 8



obtained in this present case will necessarily be reversed. Gonzalez-Lopez, 126 S.Ct. at 2563. If

dismissed without prejudice and re-indicted, the problem remains, Mr. Gorence being forever

unavailable in this unique procedural posture. Forcing Mr. Jarvis to trial with counsel other than Mr.

Gorence will forever result in replication of the same structural error, even after the “remedy” of a

new trial is granted.     As the constitutional violation is irremediable, dismissal with prejudice is

required.

               The Sixth Amendment Violation of Right to Counsel’s Assistance

        This is the unusual case with two Sixth Amendment violations of record- the implicit finding

of the Tenth Circuit and the explicit finding of this Court of violations of the right to prepare a

defense with the effective assistance of counsel.         See Mr. Jarvis’ Motion to End Unconstitutional

Conditions of Confinement, Doc. 342, Order at Doc. 654.

        In this Court’s Order, Doc. 654, this Court found, “with regard to the Defendant’s conditions

of confinement”:

                The Court concludes that the Defendant has presented sufficient
                evidence to demonstrate that the current conditions of administrative
                segregation are interfering with his Sixth Amendment right to prepare
                a defense with the effective assistance of counsel.

Order, Doc. 654, p.1. The Order went on to detail the factual basis of this Sixth Amendment finding

of violation, describing the actual manners and modes of interference with access to counsel and in

Mr. Jarvis’ defense preparation caused by the solitary confinement conditions in which Mr. Jarvis

had been for, at that point, over six months. Id. at 1-2.             The record reflects further the

uncontradicted evidence of Mr. Jarvis’ failing mental state during this period impacting his ability to

assist in his own defense even when able to access counsel. Id. at 2-3.

        Every individual charged with a crime has the right to assistance of counsel at all critical

stages of the criminal proceedings. “The pre-trial period constitutes a critical period”

                                                     5
       Case 1:05-cr-01849-JCH             Document 1076          Filed 10/04/07     Page 6 of 8



or “critical stage” in the proceedings, and such stages are “not limited to formal appearances before

a judge.” Mitchell v. Mason, 325 F.3d 732, 743 (6th Cir. 2003); also Powell v. Alabama, 287 U.S. 45, 57,

53, 77 L. Ed. 158, 53 S. Ct. 55 (1932) (describing the pre-trial period as possibly the most critical

period of the proceedings). Denials of counsel during critical stages of the proceedings warrant a

presumption of prejudice, because “[t]he presumption that counsel’s assistance is essential requires

us to conclude that a trial is unfair if the accused is denied counsel at a critical stage of his trial.”

Mitchell, 325 F.3d at 742; United States v. Cronic, 466 U.S. 648, 668 (1984).

        Mr. Jarvis was held in pre-trial solitary confinement for more than six months upon

allegations, as the Court noted, the United States has chosen not to charge him for,

unconstitutionally denying him access to speak with and prepare a defense with his counsel. Id.,

Order at 2. As with the structural error created by the Gonzalez-Lopez violation, any conviction

obtained now will be reversible due to the pre-trial denial of assistance of counsel. Dismissal is

required.

    Multiple Sixth Amendment Violations Compound into a Fifth Amendment Violation

        Even if the violation of counsel of choice were not the structural error it is, compound Sixth

Amendment errors denying counsel as to a single Defendant are untenable to the appearance of the

integrity of the system:

                The court has, moreover, an independent interest in ensuring that
                criminal trials are conducted within the ethical standards of the
                profession and that legal proceedings appear fair to all who observe
                them.

Gonzalez-Lopez, 126 S. Ct. at 2566.



        The multiple Sixth Amendment violations here cumulate to cause a Fifth Amendment

violation of Mr. Jarvis’ right to fairness in the criminal process:

                                                     6
       Case 1:05-cr-01849-JCH            Document 1076          Filed 10/04/07       Page 7 of 8



                No general respect for, nor adherence to, the law as a whole can
                well be expected without judicial recognition of the paramount need
                for prompt, eminently fair and sober criminal law procedures. The
                methods we employ in the enforcement of our criminal law have
                aptly been called the measures by which the quality of our civilization
                may be judged.

United States v. Stein, 435 F. Supp. 2d 330, 356 (D.N.Y. 2006), citing Douglas v. California, 372 U.S. 353,

358 n.2 (1963)(emphasis in Stein).

        In Stein, the United States interfered with the defendants’ contractual rights to counsel

appointed by their employer and the District Court found the cumulative violations so impacted the

integrity of the proceedings that the Fifth Amendment was also violated. The Second Circuit

determined that substantive due process violations require “dismissal of the indictment [as] the

proper remedy.” Stein v. KPMG, LLP, 486 F.3d 753, 763 (2nd Cir. 2007). Dismissal with prejudice is

the only remedy as the fairness of these proceedings can never be restored in the face of the unique

circumstance here that Mr. Jarvis’ chosen defense team will never now be available again.

                                              Conclusion

        The simplicity of the remedy here belies the magnitude of the constitutional significance of

what has occurred in these proceedings. Structural error occurred in these proceedings 20 months

ago. Subsequently a second Sixth Amendment violation was found by this Court, also interfering

with Mr. Jarvis’ fundamental rights to access to his counsel and to assist in his own defense- so vital

a structural violation as to be presumptively prejudicial to the fairness of any criminal proceedings.

This Court found that Mr. Jarvis was held in solitary confinement longer than any other individual in

the history of this district. The cumulative effect of these Sixth Amendment violations is yet

another constitutional violation, a Fifth Amendment violation. There is no remedy other than

dismissal for the structural errors in the particular facts of these proceedings. “If those whom the

government suspects are culpable in fact are guilty, they should pay the price. But the determination

                                                    7
      Case 1:05-cr-01849-JCH            Document 1076         Filed 10/04/07       Page 8 of 8



of guilt or innocence must be made fairly - not in a proceeding in which the government has

obtained an unfair advantage long before the trial even has begun.” United States v. Stein, 435 F. Supp.

2d 330 (D.N.Y. 2006).

       The only constitutionally adequate remedy is dismissal with prejudice.

       WHEREFORE, Defendant Jarvis moves this Court for an Order of dismissal of this entire

cause, with prejudice.


                                                       Respectfully submitted:

                                                               Electronically filed 10/4/07
                                                           By: ____________________
                                                               Joe M. Romero, Jr.
                                                               Attorney for Defendant Jarvis
                                                               1905 Lomas NW
                                                               Albuquerque, NM 87104
                                                               (505) 843-9776

                                                                 Electronically filed 10/4/07
                                                           By: ____________________
                                                                Jody Neal-Post
                                                                Attorney for Defendant Jarvis
                                                                317 Amherst SE
                                                               Albuquerque, NM 87106
                                                               (505) 268-7263


I hereby certify that a true and correct copy of the
foregoing was served on opposing counsel, AUSAs
James Braun and Stephen Kotz, on October 4, 2007.

Electronically filed 10/4/07
____________________________
Joe M. Romero, Jr.




                                                   8
